Case 2:20-cv-06059-VAP-E   Document 17-5   Filed 09/08/20   Page 1 of 6 Page ID
                                   #:251




                       EXHIBIT 4
Case 2:20-cv-06059-VAP-E          Document 17-5           Filed 09/08/20     Page 2 of 6 Page ID
                                          #:252




How Does the SmileDirectClub Aligner System Work?

SmileDirectClub's aligner system is a series of invisible, BPA-free plastic aligners which apply
subtle pressure to gradually shift your teeth. The invisible aligners are made to be worn in a
specific sequence. Each new aligner will gradually shift teeth. While every case is unique to each
patient, the process typically takes approximately 4 to 8 months to complete. During treatment an
optional teeth whitening system may be used. You should be aware of the benefits,
inconveniences and risks related to using aligners and teeth whitening products. Feel free to
contact the SmileDirectClub patient care team to discuss any concerns you may have.

Aligner Benefits

       DISCREET – The aligners are made of clear, BPA-free plastic. The trays are thin, light
       weight and nearly invisible when worn; many people won't know you're wearing them.
       HYGIENE – Aligners allow you to eat, brush and floss normally, and the process of
       using aligners may improve your oral hygiene habits.

Whitening Benefits

       WHITE TEETH – The whitening system may lighten the color of your teeth by removing
       stains.

Aligner Risks

       DISCOMFORT – Your mouth is sensitive so you can expect an adjustment period and
       some minor discomfort from moving your teeth. You may also experience gum, cheek or
       lip irritation when you initially use an aligner while these tissues adjust to contact with
       the aligner trays.
       ALLERGIC REACTION – It is possible for some patients to become allergic to the
       materials used to create your aligners. If you experience a reaction, please discontinue
       use and inform us and your primary care provider immediately.
       TEMPORARY SIDE EFFECTS – You may experience temporary changes in your
       speech or salivary flow while using aligners because of the presence of the aligner tray in
       your mouth.
       CAVITIES, GUM OR PERIODONTAL DISEASE – Cavities, tooth decay, periodontal
       disease, inflammation of the gums or permanent markings (e.g. decalcification) may
       occur or accelerate during use of aligners. These reactions are more likely to occur if you


                             Legal Document v1, type: consent, country: US
Case 2:20-cv-06059-VAP-E         Document 17-5           Filed 09/08/20     Page 3 of 6 Page ID
                                         #:253


      eat or drink lots of sugary foods or beverages, or do not brush and floss your teeth before
      inserting the aligners, or do not see a dentist for preventative check – ups at least every
      six months. In addition, in some circumstances discoloration or white spots may occur;
      small cavities may increase in size, causing sensitivity and in some cases pain or tooth
      breakage; gingival inflammation may increase causing soreness and or bleeding. If
      underlying periodontal conditions persists unchecked, they may become more prevalent
      leading to tooth loss. You may have to discontinue aligner treatment. All of these
      symptoms will require you to seek care from a dentist of your choice.
      SHORTENING OR THE ROOTS/RESORPTION – The roots of some patients' teeth
      become shorter (resorption) during use of aligners. It is not possible to predict which
      patients will experience it, but patients who have had braces in the past are at higher risk.
      Resorption can impact the long – term health of teeth. If resorption is detected by your
      family dentist during orthodontic treatment, treatment may need to be discontinued or
      eventful tooth loss could occur. If a primary (or "baby") tooth is present, any orthodontic
      movement would accelerate the resorption process leading to its loss.
      DAMAGE NERVES IN TEETH – Tooth movement may accelerate nerve damage or
      nerve death resulting in a root canal, other dental treatment, or loss of the tooth. It is not
      possible to predict which patients may experience nerve damage., but patients who have
      experienced tooth injury or had restoration work on a tooth are at higher risk. If your
      family dentist detects nerve damage prior or during your aligner treatment, treatment may
      need to be discontinued or eventual tooth loss could occur.
      TEMPOROMANDIBULAR JOINT DYSFUNCTION (TMJ) – Problems may occur in
      the jaw joints during aligner therapy causing pain, headaches or ear problems. The
      following factors can contribute to this outcome: past trauma or injury, arthritis,
      hereditary history, tooth grinding or clenching and some medical conditions.
      IMPACTED AND SUPERNUMERARY TEETH – Teeth may become impacted or
      trapped below the bone or gums. Sometimes some patients are born with "extra" or
      supplementary teeth. If you have impacted, un – erupted or supplementary teeth, aligners
      are not an ideal option.
      SUPRAERUPTION – If a tooth is not properly covered by an aligner, it may migrate
      outwards (supraeruption) leading to difficulty cleaning, gum disease, tooth decay and loss
      of tooth.
      PREVIOUS DENTAL TREATMENT – Aligners will not move implants and may not be
      effective on some dental restorations, such as bridges. Additionally, dental restorations,
      such as crowns, veneers, or bridges, may require replacement due to tooth movement.
      ORAL PIERCINGS – Piercings are contraindicated during aligner therapy and therefore
      should be removed during treatment. In some circumstances, failure to do so could result
      in fractures aligners or broken teeth leading to termination of aligner treatment.
      OTHER RISKS – Orthodontic treatment and the movement of teeth bring inherit and
      potential risks and side effects. In the case of aligner therapy such risks include, but are
      not limited to, discomfort, swelling, sensitivity, numbness, sore jaw muscles, allergic
      reaction to dental materials, and unforeseen conditions that may be revealed during
      treatment which may necessitate extension of the original procedures or the
      recommendation of other patient – specific procedures. Additionally, the tissue
      attachment between the front teeth may become inflamed which is a common result of
      aligner therapy. The procedure required to treat this, known as a frenectomy, is not a part
      of my SmileDirectClub treatment, but is a recommended adjunctive treatment for the best
      outcome and long-term stability of my smile.

                            Legal Document v1, type: consent, country: US
Case 2:20-cv-06059-VAP-E         Document 17-5          Filed 09/08/20     Page 4 of 6 Page ID
                                         #:254


      SAFETY – Aligners may break, be swallowed or inhaled. You may also have an allergic
      reaction to the materials used in the aligners.
      GENERAL HEALTH PROBLEMS – Overall medical conditions such as bone, blood or
      hormonal disorders, and many prescription and non – prescription drugs (including
      bisphosphonates) can affect the movement of the teeth and the outcome.
      DURATION AND RESULT – The length of time you wear the aligners and the results
      depend on many factors, including, but not limited to: the severity of your case, the shape
      of your teeth, or the amount of time you wear the aligners per day. The average person
      generally wears the aligners for 4 – 8 months, but your particular rate of tooth movement
      is impossible to predict and could take longer. If the duration is extended beyond the
      original estimate, additional fees may be assessed. Difficult cases may require IPR and/or
      extractions with traditional braces for ideal results.
      RETAINERS – Teeth may move again after you stop wearing the aligners. Retainers will
      be required to keep your teeth in their new positions for a lifetime. Your retainer should
      be worn full – time for 2 weeks and then nightly from then on. You can expect a retainer
      to last about one year, but this can vary greatly from patient to patient.
      BITE ADJUSTMENT – Your bite may change during treatment and may result in
      temporary discomfort. Your bite may require adjustment after use of the aligners.
      AGREEMENT TO ARBITRATE – I hereby agree that any dispute regarding the
      products and services offered my SmileDirectClub and/or affiliated dental professionals,
      including but not limited to medical malpractice disputes, will be determined by
      submission to arbitration and not my lawsuit filed in any court, except claims within the
      jurisdiction of Small Claims Court, I understand that to initiate the arbitration, I must
      send a Demand for Arbitration via U.S. Mail, postage prepaid to Alex Fenkell,
      SmileDirectClub, LLC, Bank of America Plaza, 414 Union Str., 8th Floor, Nashville, TN
      37219, Nashville, Tennessee 37203. The Demand for Arbitration must be in writing to all
      parties, identify each defendant, describe the claim against each party, and the amount of
      damages sought, and the names of the Patient and his/her attorney. I agree that the
      arbitration shall be conducted by a single, neutral arbitrator selected by the parties and
      shall be resolved using the rules of the American Arbitration Association.
      BLACK TRIANGLES – Teeth which have been overlapped for long periods of time may
      be missing the gum tissue and when these teeth are aligned, a "black triangle" appears
      below the interproximal contact.

Whitening Risks

      TYPE OF DISCOLORATION – The whitening system will not lighten all teeth or
      restorations in teeth. Blue, gray, multi – colored, or striped discoloration may not respond
      to whitening. If you have gum recession or periodontal disease, the area of the tooth near
      the gum line may not respond to the whitening. Similarly, fillings, cavities or other
      damage will not lighten. Use of cigarettes, wine, coffee, tea, and similar stain producing
      agents will also slow whitening process.
      WHITE/TOOTH COLORED FILLINGS – White or tooth colored fillings will not
      lighten or may become softer after using the whitening system. These fillings may need
      to be replaced after whitening to math lighter teeth or if they become soft.
      SENSITIVITY AND IRRITAION – Gum irritation may arise from excessive use of
      whitening system, as throat irritation if whitening agent is swallowed. Tooth sensitivity


                           Legal Document v1, type: consent, country: US
Case 2:20-cv-06059-VAP-E          Document 17-5           Filed 09/08/20     Page 5 of 6 Page ID
                                          #:255


       may occur during initial use. In addition, discomfort and possible permanent nerve
       damage can arise if whitening agent leaks into damaged or cracked teeth fillings.
       REVERSIBLE – Whitened teeth can darken again over time. Reduction of certain types
       of foods and beverages will reduce staining of teeth.

Healthy Teeth & Gums

SmileDirectClub aligners are most effective if your teeth and gums are healthy. It is your
responsibility to see a dentist to verify that your teeth and gums healthy prior to using
SmileDirectClub aligners.

My dentist cleaned my teeth. My dentist took x-rays of my teeth. My dentist checked for and
repaired cavities, loose or defective fillings, crowns or bridges. My dentist checked my x-rays
and I have no shortened or resorbed roots. My dentist checked my x-rays I have no impacted
teeth. My dentist has probed or measured my gum pockets and says I do not have periodontal or
gum disease. My dentist preformed a full oral-cancer screening in the last 6 months and I do not
have oral cancer. I have no pain in any of my teeth. I have no pain in my jaws. I have no loose
teeth. I have no “baby teeth” and all of my permanent teeth are present.

Informed Consent

TELEHEALTH I hereby consent to engaging in telehealth with SmileDirectClub, as part of my
aligner treatment. I understand that "telehealth" includes the practice of health or dental care
delivery, diagnosis, consultation, treatment, transfer of medical/dental information, both orally
and visually, to an affiliated SmileDirectClub licensed dental professional within my state.

I further consent to SmileDirectClub sharing my personal and medical information with third
parties, business associates, or affiliates for the purposes of treatment planning and/or
manufacturing purposes.

I certify that I can read and understand English. I acknowledge that SmileDirectClub has not
made any guarantees or assurances to me. I have read this form and fully understand the benefits
and risks listed in this form related to my use of SmileDirectClub aligners and whitening system.
I have had an opportunity to discuss and ask any questions to a SmileDirectClub provider about
the use of SmileDirectClub aligners. I understand that SmileDirectClub cannot guarantee any
specific results or outcomes. I further understand that my SmileDirectClub invisible aligner
treatment will only address the alignment of my teeth and will not correct my existing bite
condition. In order to correct the current condition of my bite, I will need to seek more
comprehensive treatment via local dental professional. Because I am choosing not to engage the
in – patient services of a local dental professional, I understand and accept that my bite or
occlusion will be improved and that my teeth will be straighter than they currently are but will
still be compromised.

I hereby grant SmileDirectClub the right to use photographs taken of my dental treatment and
my first name for educational and/or marketing purposes. I acknowledge that since my
participation is voluntary, I will receive no financial compensation and agree that my
participation is voluntary, I will receive no financial compensation and agree that my


                             Legal Document v1, type: consent, country: US
Case 2:20-cv-06059-VAP-E          Document 17-5          Filed 09/08/20     Page 6 of 6 Page ID
                                          #:256


participation confers upon me no right of ownership. I release SmileDirectClub from liability for
any claims by me or any third party in connection with my participation or use of the invisible
aligner treatment.

In the event that SmileDirectClub ("SDC") determines that I am not an appropriate candidate for
SDC treatment, but that I am a candidate for more – advanced clear aligner treatment, I hereby
consent to having all of my records in SDC's possession (including without limitation dental
impressions, digital scans, photographs, and medical history documentation) sent to Align
Technology, Inc. for further review and treatment planning, including, but not limited to,
contacting me to refer my case to an Invisalign – certified provider of my choosing or to market
and sell me Invisalign products or services.




                            Legal Document v1, type: consent, country: US
